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                                       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 1 of 20
JS 44 (Rev 06/17)

The JS 44 c1v1l cover sh
provided by local rules o      his form, approved by the Judicial Conference of the Umted States m September 1974, 1s required for the use of the Clerk of Court for the
purpose of 1mttatmg the cm! ocket sheet (SFF INSTRUCTIONS ON NEXT PAGE OF THIS rORM)


 b&MG~t-mil.lfJ'~k!a ALICE CHANG and PETER C                                                         CHANG                          ~MW~J'~RSITY and RUTGERS COMMUNITY CHRISTIAN
                                                                                                                                    CHURCH

     (b) County of Residence ofhrst Listed Plamuff                               fy11ddlesex Gounty, NJ                               County of Residence of First Listed Defendant                             Philadelphia Cou!lty, PA
                                        (FXCEPT IN US. PLAINTIFF ('A.SES)                                                                                      (IN US PLAINT/} r CASES ONI YJ
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                                                                                                                                                   nm TRACT OF LAND INVOLVED
    ( C) Attorneys (f 1rm Name Address and Telephone Number)                                                                           Attorneys (Jf Known)
 Frank P Murphy, Murphy & Dengler                                                                                                   Robert V. Fodera, GuideOne Insurance Company
 43 E Marshall St, Norristown, PA 19401                                                                                             PO Box14503, Des Moines, Iowa 50306
 610-272-4222                                                                                                                       908-627-7010

II. BASIS OF JURISDICTION mace an x·                                         mOneBoxOnlyJ                             III. CITIZENSHIP OF PRINCIPAL PARTIES mace an x-· m One Box for Platnttff
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VI. CAUSE OF ACTION i-=Bnef
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                                                    Matter is between citizens of different states and Plaintiff's claim exceeds $75,000
VII. REQUESTED IN     0                                   CHECK IF THIS IS A CLASS ACTION                                     DEMAND $                                                  CHFCK YES only 1f demanded m complamt
     COMPLAINT:                                           L'NDER RULE 2 3, FR Cv P                                                                                                      JVRY DEMAND:         ~ Yes     i'.1 No
VIII. RELATED CASE(S)
                                                       (See mstructtons)
      IFANY                                                                         JL'DGE                                                                                 DOCKET NUMBER



FOR OFFICE t:SE ONLY

    RECEIPT#                             AMOUNT                                              APPL YING IFP                                            JUDGE                                         MAG JUDGE
                       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 2 of 20

                                                            UNlTEl>STATES DISTRICT COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                                                  18                     3215
                   )                                                .      DESIGNATION FORM
                   (to be UJtd by counJt/ or prose p/alntijfw t1idicatt the cattgory oftlu! cas11/or tlztp11rpou ofassignn1ent to tlu: appropriate calendar)

Address of Plaintiff:
                          ------------ 13- South Street, Milltown, NJ 08850
                                            - - --              -- -   -- --                                                                         -     -- --
AddrcssofDcfendant:                                      1601 Market Street, Ste. 210, Philadelphia, PA 19103
                             -----------                                             1300 Eagle Road, Wayne, PA 19087
Place of Accident, Incident or Transaction:


RELATED CASE, IF ANY:

Case Number: - - - - - - - - - - · -                            Judge:-------------                                             Dale Tenninated:

Civil cases are deemed related when Yt's is answered to any ofthc following questions:

I.   I:;: this case rela led to property· included in !ln earlier numbered suit pending or within one year
     previously renninated action in this court?
                                                                                                                                   YesO                   NoD
2.   Does this case involve the same issue of fact or grow out of the same transaction as a prior .suil
     pending or within one year previously tennlnated actiun in this court'?
                                                                                                                                   YesD                   NoO
3.   Does this case involve the validity or jnfringement of a patent already in suit or any earlier
     numbered case pending or within orte l'ear previously ter111inatcd aetion of this court?
                                                                                                                                   VcsD                   NoD
4.   Is this case a second or suca:ssivc habeas corpus, social security appeal, .or pro se civil rights                            YesD                   NoD
     ciute filed by the same individual?

I certify that, to tny knowledge, the within case                                                  case now pending er within one year previously tenninated Action in
this court except as noted above.
DATE:     07/~0_{_20_1_8_ _ _ _ __                                                                                                                  319675
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CIVIL: (Plate a-Jin ant catqury aaly)

           Fediiral Question Casts:                                                          If.   Diversity Jurisdiction Cases:

D    i.    Indemnity Contract, Marine Contract, and All Other Contracts                      D      t.   Insul'lll1Ce Contract and Other Co,ntracts
D    2.    FELA                                                                              D     2.    Airplane PerSO!lal Injury
D


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     3.   Jones Act-Personal Injury                                                                      Assault, befamation
D    4.   Antitrust                                                                                      Marine P'ersomtl Injury
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D
     5. Patent
     6. Labor-Management Relations
     7. Civil Rights
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D    8. Habeas Corpus                                                                                    Product:i Liabifity- Asbcstfls
     9. Securities Act{s) Cases                                                              D           All other Diversity Cases
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     10.. Sodal Security Review Cases
     ll. All other Federal Question Cnses
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                                                                                                         (Please specify): _ _ _ _ _ _ _ _ _ _ _ _ _ __

           (Plea~• specify}:--------



                                                                           ARBl'fRATION CERTIFl.CATION
                                                  (Th. e}ftet ofthiJ c:trtijicatiort iJ 10 renso\'t! the cas• from eligibility for arbitration.)

I, _ _ _ _ _ __                       _ _ _ _ ..•counsel of record or prose plaintiff, do her1!by certify.


     D     Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best ofmy knowledge and belief. the damages recoverable in this civil action case
           exceed the sum of$ IS0,000.00 exclusive of interest and costs:

     D     Relief other than monefary damages is sought.


DATE. _ _ _ _ _ _ _ __
                                                                          Attontty-at·Law I Pro St Plaintiff                                  Auomey J.D. # (ifapplicable)

NOTE. A trial de novo \\111 be a trial by jury only if there has been c:ompliancc wilh F. R.C.f>. 38.




                                               JUL 30 20\8
         Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 3 of 20
                                       Robert V. Fodera
                             Litigation Counsel for GuideOne Insurance

                                             PO Box I 4503                           Legal Assistants
                                       Des Momes, IA 50306-3503
                                         Phone. (908) 627-7010                         Kelli Salun
                                                                                     (515) 267-5643
                                          Fax: (515) 267-543 I
                                                                                  KSaluri@gutdeone.law
                                     E-Mail RFodera@guideone. law
                                        www gmdeonelegal com
                                                                                   Angela Sharpnack
                                                                                     (515) 267-5713
                                                                                ASharpnack@guideone.Iaw




                                              July 27, 2018




U.S. District Court for the
Eastern District of Pennsylvania
60 I Market Street, Rm 2609
Philadelphia, PA 19106-1797

        Re:    Chang, Dong Xia v. Rutgers Community Christian Church
               Our File No. PA00220

Dear Sir or Madam:

        Please find enclosed, in regards to the above-referenced matter, an original and one copy
of a Civil Cover Sheet, Disclosure Statement and Notice of Removal. Please file the originals,
stamp the copies as "Filed" and return them in the enclosed self-addressed stamped envelope.

        If you should have any questions, please feel free to contact me at 908-627-7010.

                                              Respectfully submitted,




                                              Robert V. Fodera

RVF/ks

:~c.:   Frank P. Murphy, Esq.
              Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 4 of 20




     Robert V. Fodera,# 319675
     P.O. Box 14503
     Des Moines, Iowa 50306
     Telephone: (908) 627-7010
,i   Facsimile: (515) 267-5431
     Email: RFodera@guideone.law

                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT Of<' PENNSYLVANIA


     DONG XIA CHANG a/k/a ALICE CHANG and                1    Case No. _ __
     PETER C. CHANG,                                     11




            Plaintiffs,
                                                              COURT OF COMMON PLEAS
                    V.                                        PHILADELPHIA COUNTY
     EASTERN UNIVERSITY and RUTGERS                           CIVIL ACTION
     COMMUNITY CHRISTIAN CHURCH,

             Defendants.
                                                         I
                                                         ! MAY TERM, 2018
                                                         l NO. 02992

     DEFENDANTS, EASTERN UNIVERSITY and RUTGERS COMMUNITY CHRISTIA:'.'J
                      CHURCH'S NOTICE OF REMOVAL

     TO:            THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT
                    COURT I<'OR THE EASTERN DISTRICT OF PENNSYLVANIA

            PLEASE TAKE NOTICE, that, on this date, EASTERN UNIVERSITY and RUTGERS

     COMMUNITY CHRISTIAN CHURCH, ("Removing Defendants"), by and through their

     counsel, Guideone Insurance Company, file this Notice of Removal pursuant to 29 U.S.C.

     §1466(a), to timely remove the captioned action from the Court of Common Pleas, Philadelphia

     County, where the action is now pending, to the United States District Court for the Eastern

     District of Pennsylvania, and in support states as follows:

            I.      On July 9, 2018, Plaintiff filed suit against Removing Defendants in the Court of

     Common Pleas, Philadelphia County, May Term 2018, No. 02992. (See "Exhibit A")
          Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 5 of 20




        2.      Plaintiff, Dong Xia Chang a/k/a Alice Chang alleges that she sustained severe and

serious personal injuries as a result of a fall on property owned by Removing Defendant, Eastern

University. (See "Exhibit A")

        3.      Plaintiffs Complaint was served on counsel for the Removing Defendants on July

9,2018.

        4.      There are no additional defendants named in this action.

        5.      This Court has original jurisdiction under 28 U.S.C. § 1332 because the matter is

between citizens of different states and, based on Plaintiffs claim of ••severe and serious

personal injuries'', exceeds the sum of $75,000. (See ••Exhibit A")

        6.      Removing Defendants avers that complete diversity of citizenship exists between

the parties in this case.

        7.      Plaintiffs Dong Xia Chang a/k/a Alice Chang and her husband, Peter C. Chang,

reside at 13 South Street, Milltown, NJ 08850. (See ··Exhibit A")

        8.      Removing Defendant, Eastern University, operates an educational institution

located 1601 Market Street, Suite 210, Philadelphia, PA 19103. (See ··Exhibit A")

        9.      Removing Defendant, Rutgers Community Christian Church, operates a religious

institution located 71 Cedar Grove Lane, Somerset, NJ 08873. (See '•Exhibit A")

        I 0.    Plaintiffs were not citizens of the Commonwealth of Pennsylvania when this

action was filed, nor were they citizens of Pennsylvania at the time the action was commenced.

        11.     This Notice of Removal is being filed within 30 days of service on the Removing

Defendants of a copy of the initial pleading in the Court of Common Pleas, Philadelphia County,

in accordance with the requirements of 28 U.S.C. § 1446.




                                                 2
          Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 6 of 20




        12.      Copies of any process, pleadings or orders served upon Removing Defendants

are filed with this notice.

        13.     With the filing of this Notice of Removal, Removing Defendants shall give

written notice thereof to Frank P. Murphy, Esq. of ~urphy & Dengler, attorney for Plaintiffs, as

required by 28 U.S.C. § 1446(d), and Removing Defendants shall file copies of said Notice and

Notice of Filing of Removal with the Court Clerk of the Court of Common Pleas, Philadelphia

County.

        14.     By filing this Notice of Removal, Removing Defendants do not waive any

defenses which may be available to them specifically including, but not limited to, improper

service of process and the absence of venue in this Court or in the Court from which this action

has been removed.

        15.     The United States District Court for the Eastern District of Pennsylvania is the

district within which the state court action is pending.

        16.     Accordingly, Removing Defendants have satisfied all the removal prerequisites of

28 U.S.C. § 1446

        WHEREFORE, Removing Defendants removes the above-captioned action now

pending against them in the Court of Common Pleas, Philadelphia County, to the United States

District Court for the Eastern District of Pennsylvania, wherein it shall proceed as an action

originally commenced therein; and

        WHEREFORE, Removing Defendants respectfully request that this action proceed in

this Court as an action properly removed.




                                                  3
        Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 7 of 20



Dated: July 27, 2018

                                    Respectfully submitted,

                                    ~DEONE INS~RASCE COMPANY

                              By:   ~~~I/. ~)61._..
                                    Robert V. Fodera, Esq.
                                    Attorneys for Defendants, Eastern University
                                    and Rutgers Community Christian Church




                                      4
                      Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 8 of 20




          DONG XIA CHANG a/k/a/                                                         IN IBE COOR! OF COMMONPLEAS
          ALICE CHANG and PETER C.                                                      PHILADELPHIA COUNTY, PENNSYLVANIA
          CHANG
                           Plaintiffs                                                      CIVIL ACTION

                      v.
                                                                                           May Term, 2018
          EASTERN UNIVERSITY
                                                                                           Docket No.:        02992
                      and
                                                                                           JURY TRIAL DEMANDED
          RUTGERS COMMUNITY
          CHRISTIAN CHURCH

                                              Defendants




                                                                        NOTICE TO DEFEND


                                                                                                                           AVISO
                                  NOTICE
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You have been sued In court. Ir you wish to defend apla£t ttoe                              defenders• d• estas de:mandas esp11estu en 'las pagtna1
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                        and Information Service                                                                 Jl01 Market St., lltlh Pi.so
                        1101 l\olarket St., 11th Floor                                                     Filadelfia, l"ennsylvaoia J9107
                  Philadelphia, Pennsylvania 19107                                                                    (215) 233-6333
                           (215) 238-6333

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       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 9 of 20




MURPHY & DENGLER
By: Frank P. Murphy, Esquire
Attorney I.D.# 25361
43 E. Marshall St.
Norristown, PA 19401
e-mail: fpm@fmurphylaw.com
610 272-4222                                                  Attorney for Plaintiffs

DONG XIA CHANG a/k/a/                            IN THE COURT OF COMMON PLEAS
ALICE CHANG and PETER C.                         PHILADELPHIA COUNTY, PENNSYLVANIA
CHANG
                 Plaintiffs                           CNILACTION

       v.
                                                      May Term, 2018
EASTERN UNIVERSITY
                                                      Docket No.:    02992
       and
                                                      JURY TRIAL DEMANDED
RUTGERS COMMUNITY
CHRISTIAN CHURCH

                        Defendants


                                           COMPLAINT

I.     Parties

        1.       Dong Xia "Alice" Chang (Hereafter referred to as injured Plaintiff) an adult

female with her residence located at 13 South Street, Milltown, NJ 08850. Injured Plaintiff was

at the relevant times hereto and is presently married to Peter C. Chang (Hereafter referred to as

Plaintiff Spouse) and who resides with injured Plaintiff at the same address.

       2.        Defendant Eastern University (Hereafter referred to as Defendant Eastern) is a

co-educational, comprehensive Christian university with a campus location in the City of

Philadelphia located at 1601 Market Street, Suite 210, Philadelphia, PA 19103. Defendant

Eastern is affiliated with the American Baptist Churches USA and has an interdenominational
      Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 10 of 20




Christian student body, faculty and administration.

        3.     Defendant Rutgers Community Christian Church (Hereafter referred to as

Defendant RCCC) is an interdenominational Christian Church located in central New Jersey at

71 Cedar Grove Lane, Somerset, NJ 08873. Defendant RCCC is a New Jersey Non-Profit

Corporation.

II. Factual Background

       4.      Defendant Eastern from time to time is believed to rent out its facilities to

religious and social organizations for events, meetings, conferences, and gatherings. These

rentals involve the payment by the religious and social organizations for the use of the facilities,

including the real estate and fixtures thereon as well as use of the personal property and amenities

necessary for the staging or conduct of such events, meetings, conferences, and gatherings. These

items include setting up stages, chairs, platforms, etc.

       5.      It is believed that Defendant RCCC for several years predating the incident

causing injuries to Plaintiffs did stage an annual three day event sponsored by it at Defendant

Eastern named "Quest for Life." It is further believed that Defendant Eastern rented out an

auditorium for this event and Defendant RCCC paid for the auditorium and all the necessary

fixtures, and personal property to set up a stage with invited guests such as Plaintiffs to attend.

       6.      On May 30, 2016, at approximately noon, Injured Plaintiffs were attending a three

day seminar event at Eastern University to listen to speakers regarding a Quest for Life outreach

program presented by Defendant RCCC. Defendant, RCCC was the sponsor of the event and

rented the space for as a retreat program to educate Chinese and other ethnic minorities about

Christian knowledge and values.

       7.      The injured Plaintiff was a volunteer standing on a platform behind bleachers in
       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 11 of 20




the gymnasium waiting for a choir of very young children to sing while acting as backstop for

these children to keep them from falling off of the bleachers. The platform was raised

approximately two feet in height. There was a three step mobile bleachers that had been set up by

Defendant, Eastern University for attendees on top of the platform to form a stage with bleachers

for the children's choir. The injured Plaintiff was asked by Defendant, RCCC to stand behind

the bleachers on the platform on a narrow ledge so as to backstop the children who were singing

on the top step of the bleachers, There were no guard rails present to protect either the children

from falling off the bleachers or to prevent anyone from falling off the platform behind the

bleachers.

        8.     Injured Plaintiff was located at the back of the platform behind the bleachers

while protecting a two year old child from falling.

        9.     Injured Plaintiff was concerned with the child's safety she was holding from

behind because there was a four foot drop from the bleacher to the platform and an additional

two foot drop off at the back of the stage behind the bleachers or a 6 foot drop for a young child.

Injured Plaintiff was positioned with the child to make sure the child did not fall backwards.

        10.    The two year old child was moving around in injured Plaintiffs arms. As a result

of the dangerously narrow stage behind the bleachers and the child's squirming, injured Plaintiff

fell backwards with the child in her arms. The child landed on top of the injured Plaintiff.

        11.    Although the child was not injured, the injured Plaintiff fell backwards with the

weight of the child on injured Plaintiff and landed on the cement floor of the gymnasium and hit

the back of her head on the cement floor. In addition there was a thick cable on the floor where

the injured Plaintiff landed. This cable was forced into injured Plaintiffs ribs and caused three

fractured ribs. hnmediately after the fall, injured Plaintiff lost consciousness for several
           Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 12 of 20
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     moments and was unable to move or speak for approximately fifteen minutes. It was apparent

     upon examination of injured Plaintiff after the fall the fall that injured Plaintiff landed on the

     right side of her head.

             12.        Injured Plaintiff was taken to the Paoli Hospital via ambulance. Injured Plaintiff

     suffered from loss of consciousness, neck, back and right shoulder and upper back pain. EMS

     applied manual pressure and bandage to the head injury.

     III. Claims

                                                      Count I

                                 Dong Xia "Alice" Chang v. Eastern University

                                                    :Segligence



             13.        Plaintiffs incorporate by reference paragraphs 1 through 12 as though fully set

     forth at length.

             14.        Defendant Eastern is a landowner who has a legal obligation to people who rent

     the property with full knowledge of the scope of the rental to design, erect, and stage events with

     due care as required by a landlord for those on the premises as business invitees.

             15.        At all relevant times hereto injured Plaintiff was a business invitee to which

     Defendant Eastern owed a high duty of care.

             16.        Defendant, Eastern either set up the stage with bleachers on top of the platform as

     described aforesaid or allowed an inexperienced tenant such as Defendant, RCCC to set up the

     aforesaid bleacher stage/platform configuration.

             17.        It is believed and averred the use of bleachers with very young children in such a

     configuration as described above is inherently dangerous to the children and to the volunteers,
       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 13 of 20




such as injured Plaintiff, in that the bleachers have no guide rails or barrier to prevent backward

falls by children or adults and the volunteers to protect the children are in a space so narrow

(about 6-8 inches wide) behind the bleachers on the platform so as to not be able to stand without

half of the adult volunteers' feet hanging off the back end of the stage. (See Exhibit "A" a photo

of volunteers on the back of the stage behind the bleachers in question at the time of injured

plaintiffs fall)

        18.        Defendant Eastern knew or should have known the stage set up with the bleachers

was inherently dangerous on the date the injured Plaintiff was injured. Said Defendant failed to

account for the tender age of the children and the danger it was putting the volunteer caregivers

mandated by the configuration of the bleachers/stage; and/ or it knew or should have exercised its

control over its real and personal property as it was set up by the Defendant, RCCC.

        19.        The Defendant Eastern was negligent as follows:

                   a.     allowing a dangerous condition to exist on the land;

                   b.     endangering children with a stage configuration which could pose great

                          danger to all who used the stage;

                   c.     failed to have adequate safety equipment to properly set up a stage for a

                          children's choir;

                   d.     failed to inspect, supervise and or instruct the users of its realty and

                          personalty of the safe and responsible way to set up a stage for children;

                   e.     failing to use all due care due to business invitees from conditions it

                          knows or should know would likely cause danger;

                   f.     failed to warn users of the dangers of allowing young children to stand on

                          the top step of bleachers with no cushioned are behind the stage or barriers
            Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 14 of 20
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                             behind the top step to prevent accidental falls.

                     g.      allowing Defendant, RCCC to enlist volunteers to stand in a dangerous

                             place on a narrow ledge which would lead to injury of someone who

                             would fall backward from that height.

             20.     As a direct and proximate result of the neglect as set forth in this Count by

     Defendant, Eastern the injuries set forth below suffered by injured Plaintiff were factually caused

     by lack of care required by the duty the law imposes.

             21.     Plaintiff suffered the following injuries and losses by virtue of her fall:

                     a.       Plaintiff suffered injuries to her head, neck, back and ribs. Injured

     Plaintiff was diagnosed with a minor closed head injury; right sided subdural hematoma; loss of

     consciousness, and multiple right sided rib fractures, chest wall pain.

                     b.       Injured Plaintiff was given a diagnostic imaging including CT Brain

     without IV contrast to rule out brain bleeding. A CT of cervical spine without IV contrast was

     performed for midline neck pain. A CT of the chest with IV contrast was performed due to

     severe right chest pain and clavicle pain. The impression findings were right 3rd through 5th

     posterior lateral rib fractures.

                     c.      It was prescribed for injured Plaintiff to miss work.

                     d.       Prescription narcotic medication was given.

                     e.       follow up care with a primary care physician for continued headaches,

     blurred vision, dizziness and right rib pain. The doctor noted it was hard for injured Plaintiff to

     move around without pain and noted moderate to severe tenderness over left chest wall including

     full pain upon taking a deep breath. Work status was changed to be 12 weeks out of work.

                     f.      repeat diagnostic scans and referral to a neurologist who suspected a brain
       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 15 of 20




injury of a possible calvarial hemangioma due to her head injury; hemangioma unspecified site,

visual disturbances, dizziness and giddiness (exhibited as mild vestibular system damage),

blurred vision, post-concussion syndrome.

               g.      Throughout the summer of 2016 injured Plaintiff suffered visual focus and

blurred vision difficulties requiring new vision correction as injured Plaintiff had never worn

glasses prior to the fall and stated she never had vision problems prior to the fall.

               h.      persistent post-concussive symptoms.

               1.      Past wage loss of a gross weekly rate of pay was $I 076.69. Injured

Plaintiff missed 12 weeks of work for a total wage loss of $12,920.28. In the event further care is

needed in the future, future wage loss may ensue.

               J.      Past and future medical expense to diagnose and treat injured Plaintiff for

her injuries sustained as a result of the negligence of this Defendant.

               k.      By reason of the foregoing injured Plaintiff has been caused to suffer and

will continue to suffer for the indefinite future severe physical and emotional pain and suffering;

loss of enjoyment oflife's pleasures; embarrassment and humiliation; and disfigurement, some or

all of which may be permanent.

       WHEREFORE, Plaintiff, Dong Xia "Alice" Chang prays for damages in excess of

$50,000 plus interest and cost as the law may allow against the Defendant, Eastern University

jointly and severally with the other named defendant.



                                              Count I

             Dong Xia "Alice" Chang v. Rutgers Community Christian Church

                                             ~egligence
       Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 16 of 20




        22.     Plaintiffs incorporate by reference paragraphs 1 through 21 as though fully set forth

at length.

        23.     Defendant, RCCC was the promoter of the event set forth above and rented space

from Defendant Eastern as landlord. Defendant, RCCC in tum opened the event to its members and

guests of its congregation and thus has the same duties and responsibilities as a person in charge of

land opened to the public.

        24.     Defendants had set up the stage in a similar fashion in the past at Defendant, Eastern

University, but never with such a narrow ledge as in the case of the May 30, 2018 set up.

        25.     It is believed that Defendant, RCCC was jointly responsible for the safe set up of the

stage and platform with Defendant Eastern. Each had the right to demand changes of the set up from

the other so as not to allow the dangerous conditions to exist as existed on May 30, 2016.

        26.     It is believed and averred that Defendant, RCCC is guilty of the same breaches ofduty

of care by committing the same negligent acts as Defendant Eastern as set forth in Paragraphs 17,

18, 19 of Count I of this complaint.

        27.     As a direct and proximate result of the neglect as set forth in this Count by Defendant,

RCCC the injuries set forth below suffered by injured Plaintiff were factually caused by lack of care

required by the duty the law imposes.

        28.     Injured Plaintiff suffered all of those injuries set forth in paragraph 21 (a-k) in Count

I of this complaint.

        WHEREFORE, Plaintiff, Dong Xia "Alice" Chang prays for damages in excess of$50,000

plus interest and cost as the law may allow against the Defendant, Rutgers Community Christian

Church jointly and severally with the other named defendant.
      Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 17 of 20




                                            Count III

   Peter C. Chang v. Defendant, Eastern University and Defendant, Rutgers Community

                                        Christian Church

                                       Consortium Claim



        29.    Plaintiffs incorporate by reference paragraphs 1 through 28 as though fully set forth

at length.

        21.    As a direct and proximate result of the negligence aforesaid against Defendant,

Eastern and Defendant, RCCC Plaintiff Spouse has been forced to suffer the loss of society, services

and companionship of his spouse all to his great financial and emotional detriment.

        WHEREFORE, the Plaintiff Spouse, respectfully requests this Honorable Court enter

judgment in his favor and against the Defendant, Eastern University and Defendant, Rutgers

Community Christian Church jointly and severally, in an amount in excess of $50,000.00 plus

interest and costs as the law may allow.




                                              Respectfully Submitted,




                                              Frank P. Murphy, Esquire
                                              Attorney for Plaintiffs
,   Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 18 of 20
.   ,          Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 19 of 20




                                               VERIFICATION

        I, Frank P. Murphy, Esquire am authorized to make this verification on behalf of Plaintiffs. I
        have obtained the facts pied herein from the Plaintiffs directly and do verify that the statements
        of facts made in the foregoing Complaint are according to the Plaintiffs true and correct. I
        understand that any false statements made by me therein are subject to the penalties of 18 PA
        C.S. Section 4904, relating to unswom falsification to authorities. Plaintiffs intend to separately
        verify these allegations in the near future, but so as not to delay the filing of the complaint
        authorized Plaintiffs' counsel to so verify.



        Date: July 9, 2018                                     By: Frank P. Murphy, Esquire




        fpm
.,          Case 2:18-cv-03215-GJP Document 1 Filed 07/27/18 Page 20 of 20




                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 27, 2018, a true and correct copy of the foregoing notice of

     removal was served upon the following:

     Frank P. Murphy, Esq.
     Murphy & Dengler
     43 E. Marshall Street
     Norristown, PA 19401
     Attorney for the Plaintiff


                                               GUIDEONE INSURANCE COMPANY

                                       By:    ~f_~Jri&a__
                                               Robert V. Fodera, Esq.
                                               Attorneys for Defendants, Eastern University
                                               and Rutgers Community Christian Church




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